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EAN.8658
                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION

  ROBERT LEE WALLINGFORD                         §
  Plaintiff                                      §
                                                 §
  V.                                             §
                                                 §
                                                 §   CIVIL ACTION NO. 6:17-cv-00181
  (1) MATTHEW KEITH CASEY; and                   §   JURY DEMAND
  (2) WERNER ENTERPRISES, INC.                   §
  d/b/a NEBRASKA WERNER                          §
  ENTERPRISES, INC. d/b/a WERNER                 §
  ENT.                                           §
  Defendants                                     §

DEFENDANTS MATTHEW KEITH CASEY and WERNER ENTERPRISES, INC. d/b/a
      NEBRASKA WERNER ENTERPRISES, INC. d/b/a WERNER ENT.’S
                    NOTICE OF REMOVAL

TO THE HONORABLE JUDGE OF SAID COURT:

       COMES       NOW     Defendants      MATTHEW        KEITH      CASEY      and    WERNER

ENTERPRISES, INC. d/b/a NEBRASKA WERNER ENTERPRISES, INC. d/b/a

WERNER ENT., in the above entitled and numbered cause, and files this Notice of Removal of

the above-captioned case. Removal is based on 28 U.S.C. § 1332 (diversity jurisdiction) and is

authorized by 28 U.S.C. §§ 1441 and 1446.

                                      I.    BACKGROUND

  1. On June 1, 2017, Plaintiff Robert Lee Wallingford sued Matthew Keith Casey and Werner

       Enterprises, Inc. d/b/a Nebraska Werner Enterprises, Inc. d/b/a Nebraska Werner

       Enterprises, Inc. d/b/a Werner Ent. (hereinafter referred to as “Werner Enterprise”), in the

       169th Judicial District Court, Bell County, Texas, Cause No. 293,118-C, alleging

       negligence against both parties.

DEFENDANTS MATTHEW KEITH CASEY and WERNER ENTERPRISES, INC. d/b/a
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  2. Plaintiff Robert Lee Wallingford is a citizen of the State of Texas.

  3. Defendant Werner Enterprises is organized in the State of Nebraska, with its corporate

     office and principal place of business in the Omaha, Nebraska.

  4. Defendant Matthew Keith Casey is a citizen of the State of Oklahoma.

  5. Plaintiff’s Original Petition, filed contemporaneously herewith, states that the amount of

     damages sought is more than $1,000,000.

                                II.   BASIS FOR REMOVAL

  6. Removal is proper under 28 U.S.C. § 1332(a) because Plaintiff’s suit is a civil action in

     which this Court has original jurisdiction over the parties, based upon diversity

     jurisdiction under 28 U.S.C. § 1332. This action is removable to this Court pursuant to the

     provisions of 28 U.S.C. § 1441(b) because Plaintiff is a citizen of the State of Texas,

     Defendant Werner Enterprises is a Nebraska corporation, with its principal place of

     business in the State of Nebraska, and Matthew Keith Casey is a citizen of the State of

     Oklahoma. Additionally, the amount in controversy exceeds $75,000.

     A. Complete Diversity Exists.

  7. As this Court is aware, for diversity purposes, a person is considered a citizen of the state

     where that person is domiciled. Plaintiff is a person and domiciled in the State of Texas.

     Defendant Werner Enterprises, Inc. is not domiciled in the State of Texas, but rather was

     formed in Nebraska, with its principle place of business in Omaha. Defendant Matthew

     Keith Casey is a citizen of the State of Oklahoma.

  8. The only managers listed for Defendant Werner Enterprises, Inc. are located in the State

     of Nebraska.



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   9. Because the Plaintiff, Defendant Werner Enterprises, and Defendant Matthew Keith

      Casey, do not share in citizenship in any state, removal is proper on diversity grounds.

   10. All Defendants are now, and were at the time of the removed action was commenced,

      diverse in citizenship from the Plaintiff. 28 U.S.C. § 1332.

      B. The Amount in Controversy Exceeds $75,000.

   11. As previously stated, Plaintiff filed his Original Petition on June 1, 2017. Plaintiff

      identified the amount in controversy to be over $1,000,000.

   12. Accordingly, Plaintiff seeks damages beyond the threshold amount of $75,000,

      establishing an amount in controversy over $1,000,000.

   13. Accordingly, because this notice of removal has been filed within the time available after

      Plaintiff provided his Original Petition, providing his claim for relief, this removal is

      proper and timely under 28 U.S.C. § 1446(b)(3).

   14. The United States District Court for the Western District of Texas, Waco Divison,

      embraces Bell County, Texas, the place where the state court action was filed and is

      pending.

   15. The live pleadings before the state court are Plaintiff’s Original Petition, Defendant’s

      Original Answer. No other motions are pending before the state court.

   16. All pleadings, process, orders served upon Defendants in the state court action are

      attached to this Notice as Exhibit “A,” as required by 28 U.S.C. § 1446(a).

   17. Defendants Werner Enterprises and Matthew Keith Casey hereby demand a trial by jury in

      accordance with the provisions of FED. R. CIV. P. 38.

      WHEREFORE, PREMISES CONSIDERED, Defendants Werner Enterprises and

Matthew Keith Casey, as parties diverse with the Plaintiff, respectfully requests that this action

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be immediately and entirely removed upon filing of this Notice of Removal to the United States

District Court for the Western District of Texas, Waco Division, and for such other and further

relief to which he may show himself to be justly entitled in equity or law.

                                             Respectfully submitted,

                                             FEE, SMITH, SHARP & VITULLO, L.L.P

                                             /s/ Daniel M. Karp

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                                             ATTORNEYS FOR DEFENDANTS
                                             MATTHEW KEITH CASEY and WERNER
                                             ENTERPRISES, INC. d/b/a NEBRASKA
                                             WERNER ENTERPRISES, INC. d/b/a
                                             WERNER ENT.


                                CERTIFICATE OF SERVICE

        In accordance with the Federal Rules of Civil Procedure, I hereby certify that on this the
 6th day of July, 2017, a true and correct copy the foregoing instrument was served on the
 following counsel of record authorized by Federal Rule of Civil Procedure 5(b)(2):

Via Certified Mail/RRR
Veronica Valenzuela
P. O. Box 1153
Bryan, TX 77806

                                             /s/ Daniel M. Karp
                                             DANIEL M. KARP

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